                                  Case 8:23-bk-05340-RCT Doc 27 Filed 07/03/24 Page 1 of 10
                                            UNITED STATES BANKRUPTCY COURT
                                                MIDDLE DISTRICT OF FLORIDA
                                                      TAMPA DIVISION
IN RE:

       Debtor(s) Everett Glenn Rhoades, Jr.                                                                              CASE NO.:          8:23-bk-05340


                                                                AMENDED CHAPTER 13 PLAN

A.         NOTICES.
Debtor1 must check one box on each line to state whether or not the Plan includes each of the
following items. If an item is checked as “Not Included,” if both boxes are checked, or if neither box
is checked, the provision will be ineffective if set out later in the Plan.

  A limit on the amount of a secured claim based on a valuation that may result in a partial
  payment or no payment at all to the secured creditor. See Sections C.5(d) and (e). A separate                          Included       ■    Not included
  motion will be filed.
  Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest under
                                                                                                                         Included       ■    Not included
  11 U.S.C. § 522(f). A separate motion will be filed. See Section C.5(e).

  Provisions for student loan(s), set out on Section E.                                                                  Included       ■    Not Included

  Nonstandard provisions, set out in Section E.                                                                          Included       ■    Not included
  THIS AMENDED PLAN PROVIDES FOR
  PAYMENTS TO CREDITOR/LESSOR
  [NAME OF THE SECURED CREDITOR/
  LEESOR] TO BE INCLUDED IN PLAN                                                                                         Included       ■    Not included
  PAYMENTS; THE AUTOMATIC STAY
  IS REINSTATED AS TO THIS
  CREDITOR.

NOTICE TO DEBTOR: IF YOU ELECT TO MAKE DIRECT PAYMENTS TO A SECURED CREDITOR
UNDER SECTION C.5(i) OF THIS PLAN, TO SURRENDER THE SECURED CREDITOR'S COLLATERAL
UNDER SECTION C.5(j), TO NOT MAKE PAYMENTS TO THE SECURED CREDITOR UNDER
SECTION C.5(k), OR IF PAYMENTS TO A SECURED CREDITOR ARE NOT SPECIFICALLY
INCLUDED IN THE PLAN PAYMENTS, THE AUTOMATIC STAY DOES NOT APPLY, AND THE
CREDITOR MAY TAKE ACTION TO FORECLOSE OR REPOSSESS THE COLLATERAL.

SECURED CREDITORS INCLUDE THE HOLDERS OF MORTGAGE LOANS, CAR LOANS, AND
OTHER LOANS FOR WHICH THE SECURED CREDITOR HAS A SECURITY INTEREST IN PERSONAL
OR REAL PROPERTY COLLATERAL.


B.      MONTHLY PLAN PAYMENTS.
Plan payments ("Plan Payments") include the Trustee’s fee of 10% and shall begin 30
days from petition filing/conversion date. Debtor shall make Plan Payments to the Trustee
for the period of 60 months. If the Trustee does not retain the full 10%, any portion not
retained will be disbursed to allowed claims receiving payments under the Plan and may
cause an increased distribution to the unsecured class of creditors

                   1.                                          from
                         $989.00                               month                         1                 through   60         ;


1 All references to “Debtor” include and refer to both of the debtors in a case filed jointly by two individuals.
Effective: December 4, 2023                                                                                                             Page 1 of 7
                 Case 8:23-bk-05340-RCT                 Doc 27     Filed 07/03/24      Page 2 of 10
C.      PROPOSED DISTRIBUTIONS.

               1.       ADMINISTRATIVE ATTORNEY'S FEES.

Base Fee            $5,000.00      Total Paid Prepetition      $997.00           Balance Due        $4,003.00

MMM Fee               $0.00        Total Paid Prepetition       $0.00            Balance Due          $0.00

Estimated Monitoring Fee at                  $50.00         per Month.



Attorney's Fees Payable Through Plan at                        $500.00    Monthly (subject to adjustment).




■ NONE          2. DOMESTIC SUPPORT OBLIGATIONS (as defined in 11 U.S.C. §101(14A)).


     NONE      3.       PRIORITY CLAIMS (as defined in 11 U.S.C. § 507).

               Last 4 Digits of Acct. No.   Creditor                        Total Claim Amount


               3066                         IRS                                     $2,932.45        .

                4.     TRUSTEE FEES. From each Plan Payment received from Debtor, the Trustee shall receive a
fee, the percentage of which is fixed periodically by the United States Trustee.


               5.      SECURED CLAIMS. Pre-confirmation payments allocated to secured creditors under the Plan,
other than amounts allocated to cure arrearages, shall be deemed adequate protection payments. The Trustee shall
disburse adequate protection payments to secured creditors prior to confirmation, as soon as practicable, if the Plan
provides for payment to the secured creditor, the secured creditor has filed a proof of claim, or Debtor or Trustee has
filed a proof of claim for the secured creditor under 11 U.S.C. § 501(c), and no objection to the claim is pending. If
Debtor's Plan Payments are timely paid, payments to secured creditors under the Plan shall be deemed contractually
paid on time.


■     NONE   (a)   Claims Secured by Debtor`s Principal Residence that Debtor Intends to Retain—
             Mortgage, HOA and Condominium Association Assessments, and Arrears, if any, Paid Through the
             Plan Under 11 U.S.C. § 1322(b)(5). Debtor will cure prepetition arrearages and maintain regular monthly
             postpetition payments on the following claims secured by Debtor's principal residence. Under 11 U.S.C. §
             1328(a)(1), Debtor will not receive a discharge of personal liability on these claims.

             Postpetition mortgage payments must be included in the Plan Payments. Mortgage payments are due on the
             first payment due date after the case is filed and continue monthly thereafter. The amount of postpetition
             mortgage payments may be adjusted as provided for under the loan documents. Postpetition ongoing
             homeowner's association and condominium association assessments may be included in the Plan or may be
             paid direct. If Debtor intends to pay postpetition assessments through the Plan, list the Regular Monthly
             Payment. If Debtor intends to pay postpetition assessments direct, state “Direct” in the Regular Monthly
             Payment column.




                                                                                                         Page 2 of 7
                     Case 8:23-bk-05340-RCT Doc 27 Filed 07/03/24 Page 3 of 10
■   NONE   (b)    Claims Secured by Other Real Property that Debtor Intends to Retain—Mortgage,
           HOA and Condominium Association Assessments, and Arrears, if any, Paid Through the Plan
           Under 11 U.S.C. § 1322(b)(5). Debtor will cure prepetition arrearages and maintain regular
           monthly postpetition payments on the following claims secured by Debtor’s real property. Under 11
           U.S.C. § 1328(a)(1), Debtor will not receive a discharge of personal liability on these claims.

           Postpetition mortgage payments must be included in the Plan Payments. Mortgage payments are due
           on the first payment due date after the case is filed and continue monthly thereafter. The amount of
           postpetition mortgage payments may be adjusted as provided for under the loan documents.
           Postpetition ongoing homeowner's association and condominium association assessments may be
           included in the Plan or may be paid direct. If Debtor intends to pay postpetition assessments through
           the Plan, list the Regular Monthly Payment. If Debtor intends to pay postpetition assessments direct,
           state “Direct” in the Regular Monthly Payment column.
■   NONE   (c)      Claims Secured by Real Property—Debtor Seeks Mortgage Modification Mediation
           (MMM). No later than 90 days from the petition date or the date the case converts to Chapter
           13, Debtor shall file a motion seeking MMM. Information and forms related to MMM are
           available in the Court’s Procedure Manual on the Court’s website, www.flmb.uscourts.gov.
           Pending the resolution of the MMM, the Plan Payments must include the following adequate
           protection payments to the Trustee: (1) for homestead property, the lesser of 31% of gross monthly
           income of Debtor and non-filing spouse, if any (after deducting homeowner’s association fees), or
           the normal monthly contractual mortgage payment; or (2) for non-homestead, income-producing
           property, 75% of the gross rental income generated from the property. Notwithstanding the
           foregoing, the adequate protection payment must be no less than the amount sufficient to pay (1)
           homeowner's association fees, and (2) 1/12 of the annual ad valorem property taxes and annual
           homeowner's insurance premium. If Debtor obtains a modification of the mortgage, the modified
           payments must be included in the Plan Payments. Debtor will not receive a discharge of personal
           liability on these claims.
■   NONE   (d)     Claims Secured by Real Property or Personal Property to Which 11 U.S.C. § 506
           Valuation Applies (Strip Down). Under 11 U.S.C. § 1322 (b)(2), this provision does not apply to a
           claim secured solely by Debtor's principal residence. A separate motion to determine secured
           status or to value the collateral must be filed. Payment on the secured portion of the claim,
           estimated below, is included in the Plan Payments. Unless otherwise stated in Section E, the Plan
           Payments do not include payments for escrowed property taxes or insurance.
■   NONE   (e)    Liens to be Avoided Under 11 U.S.C. § 522 or Stripped Off Under 11 U.S.C. § 506.
           Debtor must file a separate motion (i) under 11 U.S.C. § 522 to avoid a judicial lien or a
           nonpossessory, non-purchase money security interest because it impairs an exemption or (ii) under
           11 U.S.C. § 506 to determine secured status and to strip a lien.
■   NONE   (f)     Payments on Claims Secured by Real Property and/or Personal Property to Which 11
           U.S.C. § 506 Valuation DOES NOT APPLY Under the Final Paragraph in 11 U.S.C. § 1325(a).
           The claims listed below were either: (1) incurred within 910 days before the petition date and
           secured by a purchase money security interest in a motor vehicle acquired for Debtor's personal use;
           or (2) incurred within one year of the petition date and secured by a purchase money security
           interest in any other thing of value. These claims will be paid in full under the Plan with interest at
           the rate stated below.
■   NONE   (g)     Claims Secured by Real or Personal Property to be Paid with Interest Through the
           Plan under 11 U.S.C. § 1322(b)(2) and § 1322(c)(2) (for claims secured by Debtor's principal
           residence that mature during the Plan). The following secured claims will be paid in full under
           the Plan with interest at the rate stated below.

                                                                                                     Page 3 of 7
                     Case 8:23-bk-05340-RCT Doc 27 Filed 07/03/24 Page 4 of 10
■   NONE
           (h)     Claims Secured by Personal Property—Maintaining Regular Payments and Curing
           Arrearages, if any, Under 11 U.S.C. § 1322(b)(5). Under 11 U.S.C. § 1328(a)(1), unless the
           principal amount of the claim is paid in full through the Plan, Debtor will not receive a discharge of
           personal liability on these claims.

    NONE   (i)     Secured Claims Paid Directly by Debtor. The following secured claims are paid via
           automatic debit/draft from Debtor's depository account and will continue to be paid directly to the
           creditor or lessor by Debtor outside the Plan via automatic debit/draft. The automatic stay under 11
           U.S.C. §§ 362(a) and 1301(a) is terminated in rem as to Debtor and in rem and in personam as to
           any codebtor as to these creditors and lessors upon the filing of this Plan. Nothing herein is intended
           to terminate or abrogate Debtor's state law contract rights. Because these secured claims are not
           provided for under the Plan, under 11 U.S.C. § 1328(a), Debtor will not receive a discharge of
           personal liability on these claims.
                    Last Four Digits of     Creditor                            Property/Collateral
                    Acct. No.

              1.    2016                    PennyMac Loan Services              13237 Jeter Creek Dr.




    NONE   (j)     Surrender of Collateral/Property that Secures a Claim. Debtor will surrender the following
           collateral/property. The automatic stay under 11 U.S.C. §§ 362(a) and 1301(a) is terminated in rem
           as to Debtor and in rem and in personam as to any codebtor as to these creditors upon the filing of
           this Plan.
                    Last Four Digits of     Creditor                            Collateral/Property
                    Acct. No.                                                   Description/Address

              1.    0104                    Suncoast Credit Union               2022 Roki Starcraft




              2.    Unknown                 SellerFi Parent                     Amazon Inventory  y & Receivables
                                                                                UHODWHGWRIRUPHUEXVLQHVV5%70
                                                                                UHODWHGWRIRUPHUEXVLQHVV5%70
                                                                                //&



              3.    Unknown                 Cucumber Capital LLC                Amazon Inventory  y & Receivables
                                                                                UHODWHGWRIRUPHUEXVLQHVV5%70
                                                                                UHODWHGWRIRUPHUEXVLQHVV5%70
                                                                                //&



■   NONE   (k)     Secured Claims that Debtor Does Not Intend to Pay. Debtor does not intend to make
           payments to the following secured creditors. The automatic stay under 11 U.S.C. §§ 362(a) and
           1301(a) is terminated in rem as to Debtor and in rem and in personam as to any codebtor with
           respect to these creditors upon the filing of this Plan. Debtor's state law contract rights and defenses
           are neither terminated nor abrogated. Because these secured claims are not provided for under the
           Plan, under § 1328(a), Debtor will not receive a discharge of personal liability on these claims.




                                                                                                        Page 4 of 7
                       Case 8:23-bk-05340-RCT Doc 27 Filed 07/03/24 Page 5 of 10
                6.      LEASES/EXECUTORY CONTRACTS. As and for adequate protection, the Trustee shall
disburse payments to creditors under leases or executory contracts prior to confirmation of the Plan, as soon as
practicable, if the Plan provides for payment to creditor/lessor, the creditor/lessor has filed a proof of claim, or
Debtor or Trustee has filed a proof of claim for the secured creditor/lessor under 11 U.S.C. § 501(c), and no objection
to the claim is pending. If Plan Payments are timely paid, payments to creditors/lessors under the Plan shall be
deemed contractually paid on time.
■   NONE         (a)     Assumption of Leases/Executory Contracts for Real or Personal Property to be Paid
                 and Arrearages Cured Through the Plan Under 11 U.S.C. § 1322(b)(7). Debtor assumes the
                 following leases/executory contracts and proposes the prompt cure of any prepetition arrearage as
                 follows. Under 11 U.S.C. § 1328(a)(1), if the claim of the lessor/creditor is not paid in full through
                 the Plan, Debtor will not receive a discharge of personal liability on these claims.
    NONE         (b)     Assumption of Leases/Executory Contracts for Real or Personal Property to be Paid
                 Directly by Debtor. Debtor assumes the following leases/executory contracts that are paid via
                 automatic debit/draft from Debtor's depository account and are to continue to be paid directly to the
                 creditor or lessor by Debtor outside the Plan via automatic debit/draft. The automatic stay under 11
                 U.S.C. §§ 362(a) and 1301(a) is terminated in rem as to Debtor and in rem and in personam as to
                 any codebtor as to these creditors and lessors upon the filing of this Plan. Nothing herein is intended
                 to terminate or abrogate Debtor's state law contract rights. Because these leases/executory contracts
                 are not provided for under the Plan, under 11 U.S.C. § 1328(a), Debtor will not receive a discharge
                 of personal liability on these claims.
                           Last Four Digits of Acct.   Creditor/Lessor                 Property/Collateral
                           No.

                    1.     Unknown                     AT&T                            Cell phones




■   NONE         (c)     Rejection of Leases/Executory Contracts and Surrender of Real or Personal Leased
                 Property. Debtor rejects the following leases/executory contracts and will surrender the following
                 leased real or personal property. The automatic stay under 11 U.S.C. §§ 362(a) and 1301(a) is
                 terminated in rem as to Debtor and in rem and in personam as to any codebtor as to these creditors
                 and lessors upon the filing of this Plan.




                                                                                                                .
7.      GENERAL UNSECURED CREDITORS. General unsecured creditors with
allowed claims shall receive a pro rata share of the balance of any funds remaining after
payments to the above-referenced creditors or shall otherwise be paid under a subsequent
Order Confirming Plan. The estimated dividend to unsecured creditors shall be no less than $43,713.00




                                                                                                        Page 5 of 7
                Case 8:23-bk-05340-RCT                   Doc 27     Filed 07/03/24      Page 6 of 10
D.     GENERAL PLAN PROVISIONS:

       1.      Secured creditors, whether or not provided for under the Plan, shall retain the liens securing their
       collateral.

       2.     Payments made to any creditor shall be based upon the amount set forth in the creditor's proof of
       claim or other amount as allowed by order of the Court.

       3.      If Debtor fails to check (a) or (b) below, or if Debtor checks both (a) and (b), property of the estate
       shall not vest in Debtor until the earlier of Debtor's discharge or dismissal of this case, unless the Court
       orders otherwise. Property of the estate

              (a) shall not vest in Debtor until the earlier of Debtor's discharge or dismissal of this case, unless the
           Court orders otherwise, or

       ■      (b) shall vest in Debtor upon confirmation of the Plan.

       4.      The amounts listed for claims in this Plan are based upon Debtor's best estimate and belief and/or the
       proofs of claim as filed and allowed. Unless otherwise ordered by the Court, the Trustee shall only pay
       creditors with filed and allowed proofs of claim. An allowed proof of claim will control, unless the Court
       orders otherwise.

       5.      Debtor may attach a summary or spreadsheet to provide an estimate of anticipated distributions. The
       actual distributions may vary. If the summary or spreadsheet conflicts with this Plan, the provisions of the
       Plan control prior to confirmation, after which time the Order Confirming Plan shall control.

       6.       Debtor must timely file all tax returns and make all tax payments and deposits when due.
       (However, if Debtor is not required to file tax returns, Debtor must provide the Trustee with a statement to
       that effect.) For each tax return that becomes due after the case is filed, Debtor must provide a complete copy
       of the tax return, including business returns if Debtor owns a business, together with all related W-2s and
       Form 1099s, to the Trustee within 14 days of filing the return. Unless consented to by the Trustee, or ordered
       by the Court, Debtor must turn over to the Trustee all tax refunds in addition to the Plan Payments. Debtor
       must not instruct the Internal Revenue Service or other taxing agency to apply a refund to the following
       year's tax liability. Debtor must not spend any tax refund without first having obtained the Trustee's
       consent or Court approval.


E.    NONSTANDARD PROVISIONS as Defined in Federal Rule of Bankruptcy Procedure 3015(c). Note:
Any nonstandard provisions of this Plan other than those set out in this Section are deemed void and are stricken.

NONE




                                                                                                           Page 6 of 7
                     Case 8:23-bk-05340-RCT     Doc 27    Filed 07/03/24   Page 7 of 10
                                          CERTIFICATION

        By filing this document, the Attorney for Debtor, or Debtor, if not represented by an attorney,
certifies that the wording and order of the provisions in this Chapter 13 Plan are identical to those
contained in the Model Plan adopted by this Court, and that this Plan contains no additional or deleted
wording or nonstandard provisions other than any nonstandard provisions included in Section E.


SIGNATURE(S):



Debtor(s)
  /s/ Everett Glenn Rhoades, Jr.                                                  6/23/2024
                                                                           Date


                                                                           Date



Attorney for Debtor(s)

       /s/ M Eric Barksdale                                                Date   7/3/2024




                                                                                             Page 7 of 7
            Case 8:23-bk-05340-RCT             Doc 27   Filed 07/03/24    Page 8 of 10


                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

In Re:                                                         Case No.: 8:23-bk-05340-RCT
                                                               Chapter 13 Case
EVERETT GLENN RHOADES, JR.

         Debtor.
                                           /


                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Amended Chapter 13
Plan have been provided to the following listed below; on this 3rd day of July , 2024.

Sent via first class U.S. mail, postage prepaid, or electronically, to:
OFFICE OF THE US TRUSTEE

KELLY REMICK, Chapter 13 Trustee

ALL PARTIES ON THE CURRENT MAILING MATRIX

EVERETT RHOADES, JR., 13237 Jeter Creek Dr., Riverview, FL 33579


                                                       /s/ M. Eric Barksdale _
                                                G. DONALD GOLDEN, ESQUIRE
                                                Florida Bar No. 0137080
                                                E-Mail: don@brandonlawyer.com
                                                M. ERIC BARKSDALE, ESQUIRE
                                                Florida Bar No. 0845353
                                                E-Mail: eric@brandonlawyer.com
                                                THE GOLDEN LAW GROUP
                                                429 Lithia Pinecrest Road
                                                Brandon, Florida 33511
                                                Telephone: (813) 413-8700
                                                Facsimile: (813) 413-8701
                                                Attorneys for Debtors
                             Case 8:23-bk-05340-RCT          Doc 27       Filed 07/03/24   Page 9 of 10
Label Matrix for local noticing                Roberta A. Colton                            Pennymac Loan Services LLC
113A-8                                         Tampa                                        Tiffany & Bosco, PA
Case 8:23-bk-05340-RCT                         , FL                                         1000 Corporate Dr
Middle District of Florida                                                                  Suite 150
Tampa                                                                                       Ft. Lauderdale, FL 33334-3655
Wed Jul 3 14:54:04 EDT 2024
Everett Glenn Rhoades Jr.                      Suncoast Credit Union                        AT&T
13237 Jeter Creek Dr                           c/o Nicole Mariani Noel                      208 S. Akard St.
Riverview, FL 33579-9408                       P.O. Box 800                                 Dallas, TX 75202-4206
                                               Tampa, FL 33601-0800


Amazon Lending                                 American Express                             American Express National Bank
440 Terry Ave N                                Bankruptcy Department                        c/o Becket and Lee LLP
Seattle, WA 98109-5210                         16 General Warren Blvd.                      PO Box 3001
                                               Malvern, PA 19355-1245                       Malvern PA 19355-0701


Bank of America                                Bank of America, N.A.                        Capital One
PO Box 15312                                   PO Box 673033                                11013 W Broad St
Wilmington, DE 19850-5312                      Dallas, TX 75267-3033                        Glen Allen, VA 23060-6017



Capital One                                    Capital One                                  Capital One N.A.
PO Box 60511                                   Po Box 85064                                 by American InfoSource as agent
City Of Industry, CA 91716-0511                Glen Allen, VA 23058                         PO Box 71083
                                                                                            Charlotte, NC 28272-1083


Child Support Enforcement - Department of Re   Cloud fund LLC                               Cucumber Capital LLc
PO Box 6668                                    187 Wolf Road                                445 Central Ave
Bankruptcy Section                             Suite 101                                    Cedarhurst , NY 11516-2001
Tallahassee, FL 32314-6668                     Albany, NY 12205-1138


Department of Revenue                          Internal Revenue Service                     Internal Revenue Service
PO Box 6668                                    Centralized Insolvency Operation             P.O. Box 7346
Tallahassee, FL 32314-6668                     P. O. Box 7346                               Philadelphia, PA 19101-7346
                                               Philadelphia, PA 19101-7346


(p)JD RECEIVABLES LLC                          Josh Rojas                                   Josh Rojas
PO BOX 382656                                  7614 Maroon Peak Dr                          7614 Maroon Peak Dr
GERMANTOWN TN 38183-2656                       Ruskin, FL 33573-0104                        Sun City Center, FL 33573-0104



LVNV Funding, LLC                              M&T BANK                                     Mark Rowe: Hometown Hardware
Resurgent Capital Services                     PO Box 1508, Buffalo, NY 14240               1085 Hwy 49
PO Box 10587                                                                                Flora, MI 39071-8006
Greenville, SC 29603-0587


PLG Capital Holdings LLC                       Payability                                   PennyMac Loan Services
10312 Bloomingdale Ave Ste 108 PMB 127         61 broadway                                  PO Box 660929
Riverview , FL 33578-3603                      New York , NY 10006-2701                     Dallas, TX 75266-0929
                              Case 8:23-bk-05340-RCT              Doc 27          Filed 07/03/24      Page 10 of 10
Recovery Solutions Group LLC: Everest Busine         SellerFi Parent                                      Sellers Funding Corp
1008 Mattlind Way                                    1545 Route 202                                       1290 Weston Road Suite 306
Milford, DE 19963-5300                               1545 Route 202                                       Weston, FL 33326-1973
                                                     Pomona, NY 10970-2951


Silver Line Services Inc                             Silverline Services, Inc.                            Sun Bum
1334 Peninsula Boulevard Suite 160                   c/o Zachter PLLC                                     444 South Coast Highway 101
Hewlett , NY 11557-1226                              2 University Plaza, Suite 205                        Encinitas, CA 92024-3580
                                                     Hackensack, NJ 07601-6211


Suncoast Credit Union                                Suncoast Cu                                          Suncst Cu
3300 N Armenia Ave, Tampa                            Po Box 11904                                         6801 Hills Ave
Tampa, FL 33607-1618                                 Tampa, FL 33680-1904                                 Tampa, FL 33680



Syncb/Ppc                                            Travis Aultman                                       United States Trustee - TPA7/13 7+
Po Box 965005                                        136 Foxfield Park Dr.                                Timberlake Annex, Suite 1200
Orlando, FL 32896-5005                               Mooresville, NC 28115-7885                           501 E Polk Street
                                                                                                          Tampa, FL 33602-3949


G Donald Golden +                                    Jason A Weber +                                      Nicole Mariani Noel +
The Golden Law Group                                 Tiffany & Bosco, P.A.                                Kass Shuler, P.A.
429 Lithia Pinecrest Road                            1000 Corporate Drive, Suite 150                      PO Box 800
Brandon, FL 33511-6138                               Fort Lauderdale, FL 33334-3655                       Tampa, FL 33601-0800


Kelly Remick +                                       Michael Eric Barksdale +                             Note: Entries with a ’+’ at the end of the
Chapter 13 Standing Trustee                          The Golden Law Group                                 name have an email address on file in CMECF
Post Office Box 89948                                429 Lithia Pinecrest Road
Tampa, FL 33689-0416                                 Brandon, FL 33511-6138




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


JD Receivables LLC
Agent of Everest Business Funding
PO Box 382656
Germantown, TN 38183




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Josh Rojas                                        End of Label Matrix
7614 Maroon Peak Dr.                                 Mailable recipients     47
Sun City Center, FL 33573-0104                       Bypassed recipients      1
                                                     Total                   48
